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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
      Plaintiff,                                    )
                                                    )
 v.                                                 )   No. 4:16CR0106 RLW
                                                    )
 JAMES BOWEN,                                       )
                                                    )
      Defendant.                                    )




      MOTION TO STRIKE PRO SE FILINGS OF A REPRESENTED DEFENDANT



         The United States of America, through undersigned counsel, opposes defendant’s recent

pro se filings, Doc. # 83 and 84, and moves to strike them. The defendant is represented by

appointed counsel who continues to represent him in this matter. “There is no constitutional or

statutory right to simultaneously proceed pro se and with the benefit of counsel.” Unites States

v. Agofsky, 20 F.3d 866, 872 (8th Cir. 1994); see 28 U.S. Section 1654. The undersigned

attorney has been in communication with Mr. Bowen’s attorney, Ethan Skaggs. Mr. Skaggs is

working on Mr. Bowen’s compassionate release and is awaiting records on the matter at this

time. Mr. Bowen asked for counsel to be appointed to case and he needs to proceed forward

with his counsel, not on his own.




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       Wherefore, the government moves to strike the pro se filings Docket No. #83 and #84

from the court docket.


                                                     Respectfully submitted,

                                                     SAYLER FLEMING
                                                     United States Attorney

                                                      /s/ Colleen C Lang
                                                     AUSA Colleen C. Lang #56872MO
                                                     Assistant United States Attorney
                                                     111 South 10th Street, Room 20.333
                                                     St. Louis, Missouri 63102
                                                     (314) 539-2200


                                CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2021, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon all
counsel of record and a copy will be mailed to the Defendant at Forest City Low FCI.


                                                 /s/ Colleen C. Lang
                                                AUSA Colleen C. Lang #56872MO
                                                Assistant United States Attorney




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